         Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 1 of 13




 1
     Gordon Ball (TN SBN: 001135)
 2   BALL & SCOTT
     550 Main Avenue, Suite 750
 3   Knoxville, TN 37902
     Telephone: 865-525-7028
 4
     Facsimile:    865-525-4679
 5   Email:        gball@ballandscott.com

 6   Daniel R. Karon (OH SBN: 0069304, IL SBN: 6207193)
     GOLDMAN SCARLATO & KARON, P.C.
 7
     55 Public Square, Suite 1500
 8   Cleveland, OH 44113
     Telephone:    (216) 622-1851
 9   Facsimile:    (216) 622-1852
     Email:        karon@gsk-law.com
10

11   Derek G. Howard (CA SBN:118082)
     MURRAY & HOWARD LLP
12   436 14th Street, Suite 1413
     Oakland, CA 94612
13   T: (510) 444-2660
     F: (510) 444-2522
14   dhoward@murrayhowardlaw.com
     Attorneys for Plaintiffs and Proposed Interim Class Counsel
15
     for the Indirect-Purchaser Plaintiffs
16   [Additional counsel listed on signature page]
                                   UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
18

19   IN RE: CATHODE TUBE (CRT)              ) Master File No.: 3:07-CV-5944
     ANTITRUST LITIGATION                   ) MDL No. 1917
20   _____________________________          )
                                              MULTI-STATE GROUP’S COMBINED REPLY
                                            )
21                                            AND RESPONSE TO: (1) ZELLE HOFMANN’S
     This document relates to:              )
                                              AND LOVELL STEWART’S OPPOSITION TO
22   All indirect-purchaser actions         )
                                              BALL AND KARON’S MOTION FOR
                                            )
23
                                              APPOINTMENT OF INTERIM INDIRECT-
                                            )
                                              PURCHASER CLASS COUNSEL (2) ALIOTO
                                            )
24                                            LAW FIRM’S AND MILLER LAW LLC’S AND (3)
                                            )
                                              TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
25                                          )
                                              MOTIONS TO BE APPOINTED INTERIM
                                            )
26                                            INDIRECT PURCHASER CLASS COUNSEL
                                            )
                                            )
27                                            DATE: April 4, 2008
                                            )
                                              TIME: 10:00 a.m.
28                                          )
                                              COURTROOM: 1, 17th Floor
                                            )
                                              JUDGE: Samuel Conti
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
          Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 2 of 13




 1           Four motions have been filed by counsel representing indirect purchaser plaintiffs seeking
 2   appointment as interim lead counsel: (1) The Multi-State Group, (2) the Alioto/Miller Group, (3)
 3   Trump, Alioto, Trump & Prescott, and (4) Zelle Hofmann/Lovell Stewart. The Multi-State Group
 4   seeks appointment of Gordon Ball and Daniel Karon as co-lead, indirect-purchaser class counsel.
 5   This memorandum combines a reply by The Multi-State Group1 to Zelle Hofmann/Lovell Stewart’s
 6   opposition to The Multi-State Group’s motion for appointment as interim lead counsel for indirect
 7   purchaser plaintiffs and in further support of the Multi-State Group’s motion.2
 8           I.     PRELIMINARY STATEMENT
 9           The Multi-State Group represents indirect purchasers in seven states and its members have
10   crafted and filed complaints to insure that class membership is not overbroad and that issues of
11   standing are preempted. The Multi-State Group’s Ball and Karon meet and exceed Rule 23(g)’s
12   criteria for class counsel’s appointment and they can fairly and adequately represent the indirect-
13   purchaser class.   As demonstrated below, nothing offered in opposition to Ball and Karon’s
14   appointment is effective to counter the skill, knowledge, professionalism, and trustworthiness of
15   those attorneys to lead this litigation. Accordingly, The Multi-State Group once again respectfully
16   requests the Court to appoint Ball and Karon as interim lead counsel for indirect purchasers in this
17   litigation.
18           The purpose of this memorandum is two-fold: to further demonstrate the qualifications of
19   Gordon Ball and Dan Karon for appointment as lead counsel for indirect purchasers, and (2) to
20   rebut a number of misleading or inaccurate statements or contentions in Zelle Hofmann’s/Lovell
21   Stewart’s opposition to The Multi-State Group’s motion.
22           II. OVERVIEW OF STANDARDS TO DETERMINE LEAD COUNSEL
23           In deciding who should fill the role of lead counsel, the Court is guided by Fed. R. Civ. P.
24   23(g), which provides:
25
     1
26     The Multi-State Group consists in part of Gordon Ball of Ball & Scott and Daniel R. Karon of
     Goldman, Scarlato & Karon, P.C., who represent alleged indirect purchasers in Arizona, Arkansas,
27   Kansas, Minnesota, South Carolina, Tennessee, and Vermont.
     2
       We neglected to attach the accompanying Exhibits and Declaration of Daniel R. Karon and to our
28
     initial motion for appointment of interim lead counsel, so we have attached them to this filing.
                                               1
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
           Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 3 of 13




 1                  (1) Unless a statute provides otherwise, a court that certifies a class must
 2                  appoint class counsel. In appointing class counsel, the court: . . . (B) may
 3                  consider any other matter pertinent to counsel's ability to fairly and
 4                  adequately represent the interests of the class. . . (4) Duty of Class
 5                  Counsel. Class counsel must fairly and adequately represent the interests
 6                  [*4] of the class.
 7

 8                  In complex multi-district litigation, courts are encouraged to:
 9

10                  invite submissions and suggestions from all counsel and conduct an
11                  independent review (usually a hearing is advisable) to ensure that counsel
12                  appointed to leading roles are qualified and responsible, that they will
13                  fairly and adequately represent all of the parties on their side, and that
14                  their charges will be reasonable. Counsel designated by the court also
15                  assume a responsibility to the court and an obligation to act fairly,
16                  efficiently, and economically in the interests of all parties and parties'
17                  counsel.
18   Manual for Complex Litigation § 10.22, at 24 (4th ed. 2004).              Complex litigation requires
19   particularly professional conduct from attorneys, as judges are especially dependent on the
20   assistance of counsel.    Id. § 10.21, at 22-23.      Significantly, “[c]ounsel need to fulfill their
21   obligations as advocates in a manner that will foster and sustain good working relations among
22   fellow counsel and with the court.” Id. at 23. In a class action, lead counsel must meet a
23   demanding standard of trustworthiness because the Court must rely on representations made by
24   counsel. See, e.g., In re Vitamins Antitrust Litig., 398 F. Supp. 2d 209, 237 (D.D.C. 2005); In re
25   Organogenesis Secs. Litig., 241 F.R.D. 397, 408 (D. Mass. 2007) ("to understand the facts and
26   issues presented to it in any case, including a class action, the court must employ and to some extent
27   rely on representations made to it by counsel.").
28   ///
                                               2
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
          Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 4 of 13




 1           Moreover, the presiding judge has a fiduciary obligation to the plaintiff class to pick an
 2   effective and trustworthy lead counsel team. See In re Pharmaceutical Industry Wholesale Price
 3   Litig., 2008 U.S. Dist. LEXIS 612 (D. Mass. Jan. 3, 2008) (citing In re New Motor Vehicles
 4   Canadian Exp. Antitrust Litig., 466 F. Supp. 2d 364, 367-68 (D. Me. 2006) (holding that the
 5   presiding judge has the final say on who should be on plaintiff's leadership committee and manage
 6   the activities of all the lawyers)).
 7           III.    BALL AND KARON PROVIDE THE SKILL, KNOWLEDGE,
 8           PROFESSIONALISM, AND TRUSTWORTHINESS NECESSARY TO
 9           FAITHFULLY AND EFFECTIVELY FULFILL THE ROLE OF LEAD
10           COUNSEL FOR INDIRECT PURCHASERS IN THIS LITIGATION
11           Significantly, without Ball and Karon’s leadership, the class loses the expertise of two of the
12   country’s leading litigators of indirect purchaser actions. Moreover, along with them would also go
13   most, if not all, of the non-California indirect-purchaser legal expertise. For instance, Gordon Ball
14   is a seasoned litigator with a national reputation of success in indirect purchaser and other litigation.
15   A summary of his qualifications for a lead role in this case demonstrates the contributions Ball
16   would make to this litigation.
17           First, Ball has been admitted to or appeared before federal and state courts across the
18   country, including Tennessee, Alabama, Arizona, California, Florida, Georgia, Indiana, Illinois,
19   Kansas, Kentucky, Maryland, Michigan, New Mexico, New York, North Carolina, North Dakota,
20   Oklahoma, South Dakota, West Virginia, and the District of Columbia. He is also admitted to
21   practice before the United States Supreme Court.
22           Second, Ball has nearly two decades of class action and antitrust experience and has served
23   as lead, co-lead, or class counsel in several of the largest antitrust recoveries and deceptive practices
24   recoveries in U.S. litigation history, as his firm biography demonstrates.
25           Third, and importantly, Ball has been a pioneer in indirect purchaser class action lawsuits on
26   behalf of the ultimate victims of antitrust behavior. He has a long record of successful litigation on
27   behalf of classes, particularly in cases involving antitrust violations such as monopolization and
28   price-fixing. Indeed, Ball’s aggregate multi-billion dollar recoveries have included cases against
                                               3
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
           Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 5 of 13




 1   pipe manufacturers, oil companies, pesticide manufacturers, siding manufacturers, infant formula
 2   manufacturers, medical equipment manufacturers, telecommunications companies, health care
 3   companies, insurance companies, pharmaceutical companies, banks, auto manufacturers, record
 4   manufacturers, paper manufacturers, vitamin makers, tape manufacturers, smokeless tobacco
 5   companies, boat manufacturers, stucco manufacturers, the rubber chemical industry, and
 6   supermarket chains. Along with these, Ball is currently engaged in antitrust and consumer rights
 7   cases against credit card companies, dairy companies, clothing manufacturers, electronics
 8   manufacturers, cigarette manufacturers, and many others.
 9             Fourth, to be sure, Ball won a national reputation for fighting on behalf of American
10   consumers by achieving recoveries in cases that other law firms did not want to handle. Several of
11   the groundbreaking cases that Ball and his co-counsel have litigated have resulted in landmark
12   cases on previously untried or unsettled issues involving price-fixing and consumer rights. For
13   instance, in Cox v. Shell Oil Company, et al., Ball and a number of other counsel charged pipe
14   manufacturers with making and marketing defective polybutylene pipe and plumbing systems. A
15   settlement was reached, providing a minimum of $950 million to consumers, the largest award in
16   Tennessee history and until that time, the largest class action settlement of its kind in the United
17   States.
18             In Infant Formula Consumer Antitrust Litigation, Ball and co-counsel instituted class
19   actions in multiple state courts against three companies who conspired to fix the prices of infant
20   formula. While the cases resulted in an aggregate settlement of $64,000,000.00, more importantly,
21   they laid the groundwork for other indirect purchaser cases under state laws by successfully
22   achieving standing for indirect purchasers in many states.
23             Finally, in Spartanburg Regional Health Services District, Inc. v. Hillenbrand Industries,
24   Inc., Ball and his co-lead counsel represented thousands of hospitals across the country in a class
25   action against Hillenbrand Industries. A settlement was reached providing for a total of nearly $490
26   million in relief, including a cash payment to class members of $337.5 million (representing the
27   sixth largest amount ever recovered in an antitrust class action). Research shows that Spartanburg
28   ///
                                               4
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
          Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 6 of 13




 1   was the first-ever direct purchaser class action which successfully challenged monopoly bundling
 2   of medical products.
 3          Fifth, and furthermore, Ball is also the most qualified, competent and experienced counsel
 4   for representing both Tennessee consumers and consumers in other states whose antitrust laws
 5   resemble Tennessee’s unique full consideration statute. Ball has appeared before many trial and
 6   appellate courts across the United States as a proponent of this law, and is well-qualified to present
 7   written and oral arguments and suggestions to the Court, to work with opposing counsel and other
 8   states’ lead counsel in developing and implementing a litigation plan, to initiate and organize
 9   discovery requests and responses, to conduct the principal examination of deponents, to employ
10   experts, to arrange for support services, and to ensure that schedules are met.
11          Finally, both Ball and Karon fully understand that the responsibilities of Interim Lead
12   Counsel would extend beyond the resolution of his clients’ involvement and include responsibilities
13   to this Court and an obligation to act fairly, efficiently, and economically in the interests of all
14   parties and their counsel. They also understand that serving as Interim Lead Counsel will include
15   an obligation to keep other attorneys representing class members advised of the progress of the
16   litigation and to consult them about decisions significantly affecting their clients. Ball and Karon
17   commit that will not bind the group without specific authority, nor will he, without Court-
18   authorization, allow settlement discussions to interfere with his responsibility to move the litigation
19   to trial on schedule.
20          IV.     ZELLE HOFMANN’S/LOVELL STEWART’S OPPOSITION PAPERS ARE
21                  MISLEADING, INACCURATE AND UNPERSUASIVE.
22          For clarification, The Multi-State Group respectfully would submit the following rebuttal to
23   a few statements or contentions made by Zelle Hofmann/Lovell Stewart which are particularly
24   misleading.
25          First, in their opposition papers, Zelle Hofmann/Lovell Stewart point out that the Multi-
26   State Group failed to acknowledge that Lovell Stewart filed the first complaint in these cases. To
27   be sure, Lovell Stewart apparently did indeed file the first complaint, but this fact should be
28   afforded little, if any, weight. After all, election of lead counsel should not rest on the consideration
                                               5
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
           Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 7 of 13




 1   of speed. There is no dispute that in the past lead plaintiff or lead counsel status was generally
 2   determined by which party first filed suit. However, this rule invariably resulted in a “race to the
 3   courthouse” in an effort by counsel to gain lead counsel status.3
 4             Second, Zelle Hofmann/Lovell Stewart’s argument that they satisfy Rule 23(g)’s factors
 5   does not lend more credibility to their position than to the Multi-State Group’s, as the Multi-State
 6   Group fully demonstrated that Ball and Karon also plainly satisfy Rule 23(g)’s factors in its
 7   opening papers.
 8             Third, nor is Zelle Hofmann/Lovell Stewart argument that they have “special” knowledge of
 9   litigation involving the television and computer monitor industry persuasive, since Ball and Karon
10   and other Multi-State Group members are presently involved in the SRAM and LCD litigation.
11             Fourth, nor do the criteria for appointment as lead counsel focus on the quantity of
12   leadership positions achieved by an applicant. To be certain, the number of leadership positions
13   achieved by Ball and Karon hardly “pales in comparison” to those of Zelle Hofmann/Lovell
14   Stewart. However, it is not the quantity, but rather, the quality of such representation on which the
15   Court’s decision of lead counsel clearly should rest. Notably, while Zelle Hofmann/Lovell Stewart
16   urge the Court to consider the number of leadership positions they have achieved, they fail to
17   candidly disclose to the Court a number of cases led by them, e.g., DRAM and GPU, which were
18   ultimately dismissed. Finally, unfortunately, any knowledge Mr. Lovell has gleaned from other
19   computer-related cases will not necessarily benefit counsel, the class, or the Court in this particular
20   litigation.
21             Fifth, with respect to Ball’s involvement in the Microsoft litigation in Tennessee, as Mr.
22   Scarpulla should know as a purported leader in the Microsoft litigation, Ball was not involved in the
23   settlement negotiations on behalf of the Tennessee class which led to the Tennessee settlement.
24   Notably, however, Ball did draft the appellate brief in the Tennessee Microsoft litigation which
25

26
     3
      In securities litigation, for example, Congress and the courts have since recognized that such selections should rest on considerations
27
     other than speed. See Vladimir v. Bioenvision, 2007 U.S. Dist. LEXIS 93470 (D. N.Y. 2007) (citations or footnotes omitted).
28

                                               6
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
          Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 8 of 13




 1   ultimately resulted in the decision in Sherwood v. Microsoft Corp., 2003 Tenn. App. LEXIS 539
 2   (Tenn. Ct. App. July 31, 2003), where the Tennessee appellate court concluded that indirect
 3   purchasers in Tennessee could sue for injury caused them by violations of the Tennessee antitrust
 4   statute.
 5              Sixth, Zelle Hofmann/Lovell Stewart also point out that they have resolved many cases over
 6   the years for substantial amounts. Certainly, the Multi-State Group has recovered substantial
 7   amounts for consumers and antitrust victims as well. For instance, as demonstrated in Ball’s Firm
 8   Biography, Ball, along with co-counsel, has recovered billions of dollars for his clients over the past
 9   fifteen years, highlighted by a $950 million recovery in a class action against pipe manufacturers, a
10   $337.5 million recovery, with additional relief totaling $468 million, in an antitrust class action
11   against the nation’s largest hospital bed manufacturer, and a $125 million recovery in an antitrust
12   class action against a boat manufacturer.
13              Seventh, Zelle Hofmann/Lovell Stewart also argue that they have “unmatched knowledge of
14   the applicable law.”      Of course, this is hardly a quantifiable claim.      Needless to say, Zelle
15   Hofmann/Lovell Stewart likely has substantial knowledge of applicable California law, but to
16   couch such knowledge in such superlative terms is not helpful, nor does it aid the Court in making
17   the ultimate decision on who should lead this litigation. In making a decision, the Court should
18   rightly consider all of the laws which will inevitable be compelled to apply, not just the law of the
19   situs of the litigation. To that end, the Court must be mindful that it has before it the claims of class
20   members from a number of states outside of California, including Arizona, Arkansas, Kansas,
21   Minnesota, South Carolina, Tennessee, and Vermont. Consequently, as these claims are brought
22   under the respective state’s laws, it is imperative – for counsel, for class members, and indeed for
23   the Court – that lead counsel should possess knowledge of these state laws.
24              As demonstrated by the Multi-State Group’s opening papers and herein, Ball has been
25   litigating indirect purchaser claims across the country for nearly fifteen years, and was part of the
26   team of antitrust lawyers which tested the antitrust laws of approximately thirty states in the 1990’s
27   by bringing actions on behalf of consumers as indirect purchasers. Tennessee and Kansas, for
28

                                               7
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
           Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 9 of 13




 1   instance, both have a unique damages provision in their antitrust laws, and Ball and Karen and other
 2   members of the Multi-State Group regularly litigate under those statutes.
 3            Eighth, that Lovell Stewart has lawyers in three other states hardly serves to convert its
 4   complaint naming a Michigan plaintiff into a “multi-state effort.” As demonstrated in the opening
 5   papers, by using a single plaintiff from Michigan to purportedly present claims on behalf of other
 6   states, Lovell Stewart has unnecessarily served up a standing argument to the Defendants in that
 7   particular action which potentially might result in dismissal of that complaint on that ground alone.
 8            Ninth, with respect to Zelle Hofmann’s argument that they have multiple offices, including
 9   one in China, that fact is particularly unpersuasive here, where members of the Multi-State Group
10   are located from the East Coast to the West Coast and in middle America as well. Furthermore, the
11   lead counsel structure should be composed of firms that have offices both on the West Coast –
12   where this Court and many parties are located – and on the East Coast – where several Defendants
13   are headquartered (e.g., in New York and New Jersey) and many important documents and
14   witnesses in these actions reside. The bi-coastal reach of the Multi-State Group positions them to
15   litigate the class actions very efficiently.
16            Tenth, curiously, Zelle Hofmann/Lovell Stewart tout their support among other firms, but
17   belittle the Multi-State Group as a “gaggle of small firms” who seemingly know nothing about
18   anything. To be sure, this so-called “gaggle” has had enormous success bring antitrust cases
19   against price-fixers, monopolists, and illegal product bundlers in a variety of industries and in a
20   multitude of states.
21            Eleventh, Zelle Hofmann/Lovell Stewart also criticize Karon’s published articles, noting
22   that such articles do not “replace . . . significant knowledge acquired in practice.” Plainly, Karon’s
23   scholarly articles merely compliment the knowledge gained from his experience in litigating
24   indirect purchaser cases, and they derive from the knowledge he has accumulated litigating those
25   cases.
26   ///
27   ///
28   ///
                                               8
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
         Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 10 of 13




 1            V.     CONCLUSION
 2            The Multi-State Group therefore respectfully requests that this Honorable Court appoint the
 3   Gordon Ball and Daniel Karon indirect-purchaser interim class counsel.
 4
     Dated:    March 21, 2008                      BALL & SCOTT
 5

 6
                                                   By:    /s/ Gordon Ball
 7
                                                          Gordon Ball
 8                                                        BALL & SCOTT
                                                          550 Main Ave., Suite 601
 9                                                        Knoxville, TN 37902
10
                                                          Telephone: (865) 525-7028
                                                          Facsimile: (865) 525-4679
11                                                        E-mail: gball@ballandscott.com
12                                                        Daniel R. Karon, Esq.
13                                                        GOLDMAN SCARLATO & KARON,
                                                          P.C.
14                                                        55 Public Square, Suite 1500
                                                          Cleveland, OH 44113
15
                                                          Telephone: (216) 622-1851
16                                                        Facsimile: (216) 622-1852
                                                          Email: karon@gsk-law.com
17
                                                          Derek G. Howard
18
                                                          MURRAY & HOWARD, LLP
19                                                        436 14th Street, Suite 1413
                                                          Oakland, CA 94612
20                                                        Telephone: (510) 444-2660
                                                          Facsimile:     (510) 444-2522
21
                                                          Email: dhoward@murrayhowardlaw.com
22
                                                          Isaac L. Diel
23                                                        SHARP McQUEEN, P.A.
                                                          Financial Plaza
24
                                                          6900 College Boulevard, Suite 285
25                                                        Overland Park, KS 66211
                                                          Telephone: (913) 661-9931
26                                                        Facsimile: (913) 661-9935
27
                                                          E-mail: dslawkc@aol.com

28

                                               9
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
       Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 11 of 13



                                               Krishna B. Narine
 1
                                               LAW OFFICE OF KRISHNA B.
 2                                             NARINE
                                               7839 Montgomery Ave.
 3                                             Elkins Park, PA 19027
                                               Telephone: (215) 771-4988
 4
                                               Facsimile: (215) 782-3241
 5                                             E-mail: knarine@kbnlaw.com

 6                                             John Gressette Felder, Jr
 7
                                               McGOWAN HOOD FELDER &
                                               JOHNSON
 8                                             3710 Landmark Drive, Suite 114
                                               Columbia, SC 29204
 9                                             Telephone: (803) 327-7800
10
                                               Facsimile: (803) 328-5656
                                               E-mail: jfelder@mcgowanhood.com
11
                                               S. Randall Hood
12
                                               William A. McKinnon
13                                             McGOWAN HOOD FELDER &
                                               JOHNSON
14                                             1539 Healthcare Drive
                                               Rock Hill, SC 29732
15
                                               Telephone: (803) 327-7800
16                                             Facsimile: (803) 328-5656
                                               E-mail: cmcgowan@mcgowanhood.com
17
                                               Donna F. Solen
18
                                               THE MASON LAW FIRM
19                                             1225 19th Street NW, Suite 500
                                               Washington, DC 20036
20                                             Telephone: (202) 429-2290
                                               Facsimile: (202) 429-2294
21
                                               Email: dsolen@masonlawdc.com
22
                                               Mary G. Kirkpatrick
23                                             LISMAN WEBSTER KIRKPATRICK
                                               & LECKERLING, P.C.
24
                                               84 Pine Street
25                                             P.O. Box 728
                                               Burlington, VT 05402-0728
26                                             Telephone: (802) 864-5756
27
                                               Facsimile: (812) 864-3629
                                               E-mail: mkirk@vtlawfirm.com
28

                                              10
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
       Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 12 of 13



                                               Robert J. Pohlman
 1
                                               RYLEY CARLOCK & APPLEWHITE
 2                                             One North Central Avenue, Suite 1200
                                               Phoenix, AZ 85004
 3                                             Telephone: (602) 258-7701
                                               Facsimile: (602) 257-9582
 4
                                               E-mail: rpohlman@rcalaw.com
 5
                                               Karl L. Cambronne
 6                                             CHESTNUT &
 7
                                               CAMBRONNE
                                               3700 Campbell MithunTower
 8                                             222 South Ninth Street
                                               Minneapolis, MN 55402
 9                                             Telephone: (612) 339-7300
10
                                               Facsimile: (612) 336-2940
                                               E-mail:
11                                             kcambrone@chestnutcambronne.com
12
                                               Steven J. Miller
13                                             MILLER GOLER FAEGES LLP
                                               100 Erieview Plaza, 27th Floor
14                                             Cleveland, OH 44114
                                               Telephone: (216) 696-3366
15
                                               Facsimile:     (216) 363-5835
16                                             E-mail: miller@millergolerfaeges.com

17                                             Daniel J. Mulligan
                                               JENKINS MULLIGAN &
18
                                               GABRIEL LLP
19                                             78-065 Main Street, Suite 202
                                               La Quinta, CA 92253
20                                             Telephone: (415) 982-8500
                                               Facsimile: (415) 982-8515
21
                                               E-mail: dan@jmglawoffices.com
22
                                               F. Xavier Starkes
23                                             STARKES LAW FIRM, LLC
24
                                               P.O. Box 1497
                                               Columbia, SC 29202
25                                             Telephone: (803) 758-2882
                                               Facsimile: (803) 758-2454
26                                             E-mail: xavier@starkeslawfirm.com
27

28

                                              11
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
       Case 4:07-cv-05944-JST Document 165 Filed 03/21/08 Page 13 of 13



                                               Bruce Mulkey
 1
                                               THE MULKEY ATTORNEYS GROUP,
 2                                             P.A.
                                               1039 W. Walnut, Suite 3
 3                                             Rogers, AR 72756
                                               Telephone: (479) 631-0481
 4
                                               Facsimile: (479) 631-5994
 5                                             E-mail: bruce@mulkeylaw.com

 6                                             Charles M. Kester
 7
                                               THE KESTER LAW FIRM
                                               P.O. Box 184
 8                                             Fayetteville, AR 72702
                                               Telephone: (479) 582-4600
 9                                             Facsimile: (479) 571-1671
10
                                               E-mail: cmkester@nwark.com

11                                             Additional supporting indirect-purchaser
                                               counsel of record
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              12
       MULTI-STATE GROUP’S COMBINED REPLY AND RESPONSE TO: (1) ZELLE HOFMANN’S AND
       LOVELL STEWART’S OPPOSITION TO BALL AND KARON’S MOTION FOR APPOINTMENT OF
      INTERIM INDIRECT-PURCHASER CLASS COUNSEL (2) ALIOTO LAW FIRM’S AND MILLER LAW
     LLC’S AND (3) TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP MOTIONS TO BE APPOINTED INTERIM
                              INDIRECT PURCHASER CLASS COUNSEL
